Case 3:14-cv-00790-RGJ-KLH Document 1-1 Filed 04/11/14 Page 1 of 6 PageID #: 8
                                                                          Service of Process
                                                                          Transmittal
                                                                          03/14/2014
                                                                          CT Log Number 524574603
   TO:     Michael Wallace, Corporate Paralegal
           Cornerstone Healthcare Group
           2200 Ross Avenue, Suite 5400
           Dallas, TX 75201

   RE:     Process Served in Louisiana
   FOR:    Cornerstone Hospital of West Monroe, LLC (Domestic State: DE)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                 Vanessa green, et al., Pltf. vs. Cornerstone Hospital of West Monroe, Dft.
   DOCUMENT(S) SERVED:              Citation, Petition
   COURT/AGENCY:                    4th Judicial District Court, Parish of Ouachita, LA
                                    Case # C20140610
   NATURE OF ACTION:                Medical Injury - Improper Care and Treatment - 01/29/2013
   ON WHOM PROCESS WAS SERVED:      C T Corporation System, Baton Rouge, LA
   DATE AND HOUR OF SERVICE:        By Process Server on 03/14/2014 at 09:05
   JURISDICTION SERVED :            Louisiana
   APPEARANCE OR ANSWER DUE:        Within 15 days after receipt
   ATTORNEY(S) / SENDER(S):         Jeffrey D. Guerriero
                                    Guerriero ft Guerriero
                                    2200 Forsythe Avenue
                                    Monroe, LA 71201
                                    318-325-4306
   ACTION ITEMS:                    CT has retained the current log, Retain Date: 03/14/2014, Expected Purge Date:
                                    03/19/2014
                                    Image SOP
                                    Email Notification, Michael Wallace mwallace@chghospitals.com
   SIGNED:                          C T Corporation System
   PER:                             Trevor Garoutte
   ADDRESS:                         5615 Corporate Blvd
                                    Suite 400B
                                    Baton Rouge, LA 70808
   TELEPHONE:                       225-922-4490




                                                                                                 EXHIBIT 1



                                                                           Page 1 of 1 / AS
                                                                          Information displayed on this transmittal is for CT Corporation's
                                                                          record keeping purposes only and is provided to the recipient for
                                                                          quick reference. This information does not constitute a legal
                                                                          opinion as to the nature of action, the amount of damages, the
                                                                          answer date, or any information contained in the documents
                                                                          themselves. Recipient is responsible for interpreting said
                                                                          documents and for taking appropriate action. Signatures on
                                                                          certified mail receipts confirm receipt of package only, not
                                                                          contents.
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  ;




                                            CITATION


                                                                                           03175387
                                                                                                   BJG

      VANESSA GREEN, ET AL                            DOCKET NUMBER: C-20140610
                                                      SEC: C3
      VS                                              STATE OF LOUISIANA
                                                      PARISH OF OUACHITA
      CORNERSTONE HOSPITAL OF                         FOURTH JUDICIAL DISTRICT COURT
      WEST MONROE
                                                   EAST BATON ROUGE PARISH

      TO:
              CORNERSTONE HOSPITAL OF WEST MONROE
              AGENT FOR SERVICE: CT CORPORATION SYSTEM
              5615 CORPORATE BLVD., STE. 400B
            ) BATON ROUGE, LA 70808


      YOU HAVE BEEN SUED.
      Attached to this Citation is a certified copy of the Petition. The petition tells you what
      you are being sued for.

      You must EITHER do what the petition asks, OR, within FIFTEEN (15) days after you
      have received these documents, you must file an answer-or other legal pleadings in the
      Office of the Clerk of this Court at the Ouachita Parish Court House, 301 South Grand,
      Monroe, Louisiana.

      If you do not do what the petition asks, or if you do not file an answer or legal pleading
      within FIFTEEN (15) days, a judgment may be entered against you without further
      notice.

      This Citation was issued by the Clerk of Court for Ouachita Parish, on this MARCH 5,
      2014.

                                             OUACHITA PARISH CLERK OF COURT


      Also attached are the following:
      PETITION FOR DAMAGES



                                              By:    B. J. GRAHAM
                                                Deputy Clerk


 • FILED BY: JEFFREY D. GUERRIERO #19602
                                                                                      CERTIFIED
                                                                                     TRUE COPY
                 ORIGINAL
                                                                                          Oi 2014
                 SERVICE COPY                                                   BY
                                                                                      DE TY LERK
                                                                                4TH JUDICIAL DISTRICT COURT
                 FILE COPY                                                        OUACHITA PARISH, LA
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                   STATE OF LOUISIANA ** PARISH OF OUACHITA

                          FOURTH JUDICIAL DISTRICT COURT

                                                                          FEB 28 2014
VANESSA GREEN, TAWATHA GREEN,                               FILED:
TONY GREEN AND IESHA GREEN,
INDIVIDUALLY AND ON BEHALF OF
THEIR DECEASED FATHER, JAMES
QUINN AND/OR THE UNOPENED
SUCCESSION (ESTATE) OF JAMES QUINN

vs.      -1 4-0610
                                                                     B.J. GRAHAM
CORNERSTONE HOSPITAL OF
WEST MONROE                                                 DEPUTY CLERK OF COURT


                                 PETITION FOR DAMAGES

       Petitioners VANESSA GREEN, TAWATHA GREEN, TONY GREEN AND IESHA

GREEN, INDIVIDUALLY AND ON BEHALF OF THEIR DECEASED FATHER, JAMES

QUINN (D), AND/OR THE ESTATE OF JAMES QUINN (D), hereinafter VANESSA

GREEN, ET AL, respectfully represent the following:

                                                1.

       The defendants named herein are the staff, agents and/or employees ofSeRNERSTONE

HOSPITAL OF WEST MONROE, hereinafter referred to as "CORNERSTTO-k", allegenn
                                                                          0
information and belief to be a private medical facility located in Ouachita$Vish, LibN- ) uisiTa,
                                                                             .
authorized to do and actually doing business in the State of Louisiana, whose
                                                                            - agent f91.
                                                                                     '> seree
                                                                                cp,
of process for all suits brought against it in this state is C T CORPORATION SYSTEM. •

                                                2.

       The defendants named hereinabove are justly and legally indebted unto Petitioners herein

for all damages which are just and reasonable under the circumstances, together with legal

interest thereon from the date of judicial demand until paid, and for all costs of these

proceedings, for the following reasons, to-wit:

                                                3.

       On or about January 29, 2013, JAMES QUINN was admitted to Cornerstone Hospital

in West Monroe, Louisiana, from St. Francis Medical Center located in Monroe, Louisiana.

                                                4.

       Mr. Quinn had a prior history of pulling at and pulling out his trach. There was a restraint


                                CASE ASSIGNED TO:

                                 CV. SECT. 3
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order executed by Dr. Mousa. According to the Clinical Staff Restraint Monitoring notes from

Cornerstone, the orders were that the staff of Cornerstone use wrist restraints to restrain Mr. Quinn;

however, the restrains were too loose, which allowed Mr. Quin to reach for his trach and to pull it

out. Soft bilateral wrist restraints were allegedly used while Mr. Quinn was at Cornerstone.

                                                  5.

       On or about February 6, 2013, at 19:55, the nurse, who at all timer herein was an employee

of Cornerstone, was called to Mr. Quinn's room by a CNA. Mr. Quinn had pulled his trach out and

it was laying on the left side of his neck.

                                                  6.

       Mr. Quinn was not breathing and they called a code and initiated CPR. The staff were able

to resuscitate Mr. Quinn; but, Mr. Quinn began having seizures. Dr. Mohammad Mousa was notified

and gave orders for anti-seizure medications and a CT of the head. Mr. Quinn was then transported

to Cornerstone, with the respiratory therapist hand bagging him.

                                                  7.

       The staff at Cornerstone tried several physician ordered anti-seizure medications, but Mr.

Quinn continued to seize. On February 7, 2013, he was transferred to Glenwood Medical Center in

West Monroe, LA for continued seizures, where he passed away on April 9, 2103. Mr. Quinn

survived for more than two (2) months after the alleged malpractice and suffered extreme pain

and mental anguish.

                                                  8.

       The defendants, the staff at Cornerstone Hospital, knew that the patient, Mr. Quinn, was

pulling out his trach and/or trying to pull out his trach as evidenced by the medical records from

Cornerstone. Because he had previously pulled out his trach and it had lobe replaced, restraints were

ordered.

                                                  9.

       Petitioners show that, prior to the filing of the instant Petition, a claim of medical

negligence was timely and properly filed with the Division of Administration on January 29,

2014, against other Defendants in this matter, pursuant to LSA R.S. 40:1299.47, et seq., namely

DR. MOHAMMAD MOUSA and DR. AMIN EL-MALAH, those Defendants having been

found to be qualified health care providers under the Medical Malpractice Act. A medical

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malpractice claim was also made against named Defendant herein, CORNERSTONE

HOSPITAL OF WEST MONROE, in the Claim filed with the Division of Administration on

January 29,2014, but Plaintiffs received notice from the Patient's Compensation Fund by letter

dated February 07, 2014, that said Defendant CORNERSTONE was not a qualified health care

provider under the Medical Malpractice Act, therefore necessitating the filing of this Petition

for Damages against CORNERSTONE.

                                              10.

       The injuries and damages sustained by Petitioners, VANESSA GREEN, ET AL, which

are more fully set forth below, were caused by the negligence of the employees/agents of

Defendant, CORNERSTONE HOSPITAL OF WEST MONROE, in deviating from the

applicable standards of appropriate medical care by failing to render appropriate medical care

under the circumstances, failing to order and monitor proper and necessary restraints pursuant

to proper and appropriate procedures under the circumstances, incorrectly and/or too loosely

applying restraints, allowing Mr. Quinn to pull his trach out, failing to keep Mr. Quinn's bed

rails up which would have prevented him from falling out of bed and preventing further injuries,

and generally failing to provide satisfactory medical care, resulting in Mr. Quinn having

respiratory distress, seizures, cardiac arrest and eventually death.

                                               11.

       Petitioners, VANESSA GREEN, TAWATHA GREEN, TONY GREEN and IESHA

GREEN, as a direct result of the above described negligence, have suffered the following

damages:

       a)     The death of their father, an individual with whom they enjoyed a very close and
              loving relationship;
       b)     Mental pain and anguish;
       c)     Emotional pain and anguish;
       d)     Medical expenses;
       e)     Loss of the ability to enjoy life as they had prior to the incident made subject of
              this litigation;
       0      Burial expenses;
       g)     Further, Mr. Quinn suffered extreme pain and mental anguish for approximately
              two (2) months, from February 7, 2013, until his death on April 9, 2013.
              Therefore, there exists a survival action, as well.


                                               12.

       Petitioner's allege amicable demand, to no avail.


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       WHEREFORE, PETITIONERS PRAY that the defendant be served and cited according

to law, and that after all legal delays have elapsed and due proceedings are had, there be

judgment as follows:

       1.    In favor of Petitioners, VANESSA GREEN, TAWATHA GREEN, TONY
             GREEN AND IESHA GREEN, INDIVIDUALLY AND ON BEHALF OF
             THEIR DECEASED FATHER, JAMES QUINN (D), AND/OR THE ESTATE
             OF JAMES QUINN (D), against CORNERSTONE HOSPITAL OF WEST
             MONROE for all just and reasonable damages under the circumstances; and

      2.     In favor of Petitioners, VANESSA GREEN, TAWATHA GREEN, TONY
             GREEN AND IESHA GREEN, INDIVIDUALLY AND ON BEHALF OF
             THEIR DECEASED FATHER, JAMES QUINN (D), AND/OR THE ESTATE
             OF JAMES QUINN (D), against CORNERSTONE HOSPITAL OF WEST
             MONROE, for legal interest from the date ofjudicial demand until paid, and for
             all costs of these proceedings, and for all other equitable relief



                                         GUERRIERO & GUERRIERO
                                         2200 FORSYTHE AVENUE
                                         MONROE, LOUISIANA 71201
                                         TEL. (318) 325-4306
                                         FAX (318) 323-8406


                                         BY:




PLEASE SERVE:

CORNERSTONE HOSPITAL OF WEST MONROE
Through it registered agent for service of process:
C T CORPORATION SYSTEM
5615 Corporate Boulevard Ste. 400B
Baton Rouge, LA 70808




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